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                     UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF VIRGINIA
                              Richmond Division

 In re: Mohammad Mahmoud Atiyat,                         Case No. 21-32555
             Debtor.                                     Chapter 7

                     MEMORANDUM OPINION AND ORDER

       Mohammad Mahmoud Atiyat (the “Debtor”) filed a voluntary petition in this

 Court under Chapter 13 of the Bankruptcy Code, 11 U.S.C. §§ 1301-1330, on August

 19, 2021. The case was converted to Chapter 7 on May 27, 2022. On May 1, 2024,

 the Chapter 7 trustee (the “Trustee”) moved for authority to sell real property of the

 estate located at 8307 Ferdinand Lane, Midlothian, Virginia, by private sale,

 pursuant to § 363 of the Bankruptcy Code, 11 U.S.C. § 363 (the “Sale Motion”). The

 Debtor objected to the Sale Motion. No other parties have objected to the proposed

 sale. A hearing on the Sale Motion was held on May 29, 2024, at which the Court

 instructed the parties to submit memoranda addressing the issue of the Debtor’s

 standing to object to the Sale Motion. The parties have done so, and the question of

 the Debtor’s standing, along with the Sale Motion, is now before the Court.

                                   History of the Case

      The Debtor filed his Chapter 13 plan (the “Plan”) on September 2, 2021. Dkt.

 14. The Chapter 13 trustee objected to confirmation of the Plan, as did NewRez LLC

 d/b/a Shellpoint Mortgage Servicing (“Shellpoint”) and one other creditor,

 Mohammad Tabanjeh. In her objection, the Chapter 13 trustee requested additional

 income information from the Debtor. Dkt. 19. Shellpoint, whose claim was secured

 by the Property, argued that the mortgage arrearage owed to it was understated in
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 the Plan and payment of the correct higher arrearage would make the Plan

 unfeasible. Dkt. 21. Mohammad Tabanjeh urged that, among other things, the

 Debtor had not fully disclosed his assets, including real estate owned in the

 Kingdom of Jordan. Dkt. 20. These objections were sustained by agreement, and the

 Court denied confirmation of the Plan on November 3, 2021. Dkt. 27.

       The Debtor submitted an amended plan (the “Amended Plan”) on November

 23, 2021. Dkt. 29. Mohammad Tabanjeh, along with two other creditors

 (collectively, the “Tabanjeh Creditors”), objected to the confirmation of the Amended

 Plan. Dkt. 34. The objection was unopposed and was sustained by the Court. Dkt.

 35. An order denying confirmation of the Amended Plan was entered on January 12,

 2022. Dkt. 36.

       On January 18, 2022, the Chapter 13 Trustee filed a motion to convert the

 Debtor’s case to chapter 7, Dkt. 38, as did the Tabanjeh Creditors, Dkt. 40 (jointly

 “the Conversion Motions”). Both the Chapter 13 Trustee and the Tabanjeh

 Creditors alleged bad faith on the part of the Debtor by demonstrating that he had

 presented false information both in his schedules and in testimony at his § 341

 meeting of creditors, particularly his failure to disclose his interest in real property

 he owned in the Kingdom of Jordan. The Debtor objected to the Conversion Motions,

 and after several continuances, a hearing was held on May 25, 2022, at which the

 Court granted the Conversion Motions. An order converting the case to Chapter 7

 was entered on May 27, 2022. Dkt. 66.




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       On July 22, 2022, the Trustee filed a report stating she had determined that

 the Debtor had assets available for liquidation for the benefit of creditors and

 requested the Clerk to notify creditors to file proofs of claim in the case. Dkt. 90. On

 July 24, 2022, the Clerk notified creditors to file proofs of claim and set October 24,

 2022, as the deadline by which nongovernmental creditors should file proofs of

 claim. Dkt. 94. A post-deadline review of the claims register reveals timely-filed

 claims totaling $397,822.29, of which $170,953.62 represents the secured Shellpoint

 mortgage claim. All other claims were filed as unsecured claims.

       On August 18, 2022, the United States Trustee filed a motion to approve the

 Debtor’s voluntary waiver of his discharge. Dkt. 100. That motion was granted at a

 hearing held September 14, 2022, Dkt. 111, and an order was entered on September

 16, 2022, denying the Debtor a discharge in this case. 1 Dkt. 112.

       On November 8, 2022, the Trustee filed a motion requesting authority to

 conduct an examination of the Debtor pursuant to Rule 2004 of the Bankruptcy

 Rules, Fed. R. Bankr. P. 2004 (the “2004 Motion”), after the Debtor’s failure to

 produce requested documentation. Dkt. 120. In the 2004 Motion, the Trustee also

 requested that the Debtor be required to vacate the property located at 8307

 Ferdinand Lane, Midlothian, Virginia (the “Property”) so the Trustee could

 administer it for the benefit of creditors. The parties submitted a consent order

 resolving the 2004 Motion, which was entered on the docket on November 30, 2022


 1 On December 6, 2021, the Tabanjeh Creditors filed an adversary proceeding seeking a finding of

 that the debts allegedly owed to them by the Debtor are nondischargeable, relying on § 523(a)(2) of
 the Bankruptcy Code, 11 U.S.C. § 523(a)(2). That adversary proceeding was voluntarily dismissed on
 September 17, 2022, after the Debtor’s waiver of discharge. Adv. Pro. No. 21-03123-KLP.
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 (the “Consent Order”). Dkt. 125. In that order, the Debtor agreed to provide the

 Trustee with the documents she was seeking and agreed to give the Trustee access

 to the Property to facilitate listing it for sale.

       The docket reflects that after the entry of the Consent Order, the Debtor’s

 § 341 meeting of creditors was adjourned six times. Dkt. 126-33. The last notice of

 adjournment was filed on April 25, 2023. On that same day, the Trustee filed a

 motion to compel (the “Motion to Compel”) the Debtor to comply with the terms of

 the Consent Order. Dkt. 134.

       A hearing on the Motion to Compel was held on May 10, 2023. By order signed

 May 25, 2023, the Court ordered the Debtor to provide the documents requested by

 the Trustee and to vacate the Property by May 30, 2023. In addition, the Court

 imposed a sanction of $4,862.00 because of the Debtor’s bad faith and willful failure

 to abide by the terms of the Court’s orders. Dkt. 141.

       On May 8, 2023, Shellpoint filed a motion for relief from the automatic stay of

 the Bankruptcy Code, 11 U.S.C. § 362 (the “Motion for Relief”), seeking authority to

 foreclose upon the Property.. Dkt. 136. On August 29, 2023, the Debtor filed a tardy

 response to the Motion for Relief, stating that he has no objection to the Court’s

 granting relief from the automatic stay, which would permit Shellpoint to proceed

 with a foreclosure sale under state law.2 Dkt. 144. No order has been submitted on

 the Motion for Relief.



 2 Interestingly, the Debtor apparently has no objection to a forced sale of the Property by the

 mortgage holder, yet he opposes a sale by the Trustee that similarly disposes of the Property but,
 unlike most foreclosure sales, would generate proceeds for the benefit of estate creditors.
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       On May 1, 2024, the Trustee filed the Sale Motion. The Debtor filed his

 objection thereto on May 2, 2024. Dkt. 160. After a hearing held May 29, 2024, the

 Trustee filed a motion to strike the Debtor’s objection to the Sale Motion (the

 “Motion to Strike”), Dkt. 167, challenging the standing of the Debtor. The Debtor

 filed his response, 3 Dkt. 168, and the matter of the Debtor’s standing to oppose the

 Sale Motion is now before the Court.

                                             Discussion

        Jurisdiction. The Court has jurisdiction over this matter pursuant to 28

 U.S.C. §§ 1334 and 157(a). The matter is a core proceeding under 28 U.S.C.

 § 157(b)(2)(A),(E),(N).

        Facts. The record before the Court includes various statements submitted

 under oath by the Debtor, representations and admissions included in pleadings

 and unopposed proofs of claim, and other docket entries.

        The Property is presently owned by the Debtor and his brother, Ashrat

 Atiyat, as joint tenants with right of survivorship. They are jointly indebted to

 Shellpoint pursuant to a note executed January 17, 2007 (the “Note”). On that same

 day, the brothers executed a deed of trust to secure payment of the Note (the “Deed

 of Trust”). Shellpoint filed a secured proof of claim in this case in the amount of

 $170,953.62 on September 15, 2021. Claim #3. The proof of claim asserts that the




 3 The Court finds that the Motion to Strike and the response thereto satisfy the Court’s request for

 memoranda addressing the Debtor’s standing.
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 entire amount is secured by the Property; the Note and the Deed of Trust are

 attached to the claim.

         In the Motion for Relief, Shellpoint alleged that the amount owed to it was

 $187,935.88 as of April 13, 2023. A payoff letter attached to the Motion for Relief

 breaks down the payoff as of April 13, 2023, including $146,224.57 of principal,

 interest of $9,817.08, $11,339.39 in deferred principal, and $12,495.51 in deferred

 interest, plus any applicable late charges and attorney's fees and costs. The Court

 notes that the Debtor stated that he does not oppose the Motion for Relief, nor has

 he contested the accuracy of Shellpoint’s payoff figure. Dkt. 144. There having been

 no objection to Shellpoint’s proof of claim, it is deemed allowed. 4

         Attachment D to the Motion for Relief shows that the assessed value of the

 Property in 2023 was $295,000. In amended schedules filed November 23, 2021,

 under penalty of perjury, the Debtor valued the Property at $290,300 (his interest

 being one half of that amount) and valued his total assets at $249,484. Dkt. 30. The

 purchase price at which the Trustee seeks to sell the Property is $220,000. Dkt. 161.

 The Trustee alleges that the co-owner of the Property, Ashrat Atiyat, has consented

 to the proposed sale.

         The Trustee asserts that Shellpoint has agreed to a carveout from its

 distribution (the “Carveout”), as set forth in the Sale Motion:

         Shellpoint has agreed to the terms of the sale outlined in this
         Motion. Specifically, Shellpoint has agreed to a carve out of its
         share of the net proceeds . . . to be paid to the Trustee for the

 4 Pursuant to 11 U.S.C. § 502(a) “[a] claim . . . is deemed allowed, unless a party in interest . . .

 objects.”
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       benefit of the Estate in the total amount of the value of its lien
       exceeding $183,500. The proceeds from the Carve Out will ensure
       the Trustee is able to make a distribution to unsecured creditors
       in this case.

 Sale Motion ¶ 18.

       The Trustee lists the liens on the Property as of November 29, 2023, as:

       a. A deed of trust dated January 17, 2007, granted by the Debtor
       and Ahmad Atiyat to Countrywide Home Loans, Inc. and
       thereafter assigned to NewRez LLC d/b/a/ Shellpoint Mortgage
       Servicing (“Shellpoint”) to secure payment of a promissory note in
       the face amount of $204,202.00 plus interest in the amount of
       6.5%;

       b. A water/sewer lien docketed on December 4, 2009, in favor of
       the Chesterfield County Utilities Department (“Chesterfield”) in
       the amount of $40.95;

       c. A judgment docketed against Ahmad Atiyat on December 6,
       2010, in favor of Discover Bank (“Discover”) in the amount of
       $12,938.45 plus 6% interest and $82 in costs and attorneys’ fees;

       d. A judgment docketed against Ahmad Atiyat on March 15, 2012,
       in favor of Jormandy LLC (“Jormandy”) in the amount of
       $4,870.19 plus 6% interest and $54 in costs and attorneys’ fees;

       e. A judgment docketed against Ashrat Al-Atiyat on March 15,
       2012, in favor of Midland Funding LLC (“Midland” and
       collectively with Discover and Jormandy, the “Subordinate
       Lienholders”) in the amount of $624.18 plus 6% interest rate and
       $56 in costs and attorneys’ fees; and

       f. A judgment in favor of the Trustee in the amount of $4,862
       based on the Order Granting Motion to Compel entered on May
       25, 2023 [Docket No. 141] for sanctions that this Court imposed
       on the Debtor due to his willful failure to abide by the terms of
       prior court orders.

 Sale Motion ¶ 11. The Debtor has also asserted a $25,000 homestead exemption in

 the Property. Dkt. 30, Schedule C. There was no timely objection to the Debtor’s

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 exemption claim; thus, it is now deemed allowed. 5 The Trustee proposes to

 distribute the proceeds of the sale as follows:

        a. The first deed of trust of Shellpoint in the amount of $183,500;
        b. The lien in favor of Chesterfield;
        c. Taxes and usual closing costs; and
        d. Any remaining proceeds less the Carve Out to be held in escrow
        by counsel for the Trustee to afford the Debtor an opportunity to
        bring an action pursuant to § 522(f) of the Bankruptcy Code.
        . . . The Trustee further seeks authority to retain the Carve Out
        free and clear of all liens, claims, and interests to distribute to the
        Estate pursuant to the Bankruptcy Code and further order of this
        Court.

 Sale Motion, ¶¶ 27, 28. Determining the amount that would be available for

 unsecured creditors based upon this language is not presently possible, as the Court

 has no evidence of the total anticipated payoff of the Shellpoint claim and no

 evidence of the “taxes and usual closing costs” anticipated in finalizing the sale.

 Importantly, the Trustee does not propose to distribute any of the proceeds to the

 Debtor on account of his $25,000 exemption. 6

        In connection with the Sale Motion, the Debtor has propounded

 interrogatories and requests for production of documents (the “Discovery Requests”)

 to the Trustee. The Trustee has filed a motion to strike the Discovery Requests,

 Dkt. 171, arguing that if the Debtor has no standing to pursue his objection to the

 Sale Motion, he has no basis upon which to request discovery in relation thereto.


 5 Bankruptcy Rule 4003(b)(1), Fed. R. Bankr. P. 4003(b)(1).
 6 It appears that the Trustee anticipates that the Debtor will undertake an action to avoid one or

 more judgment liens pursuant to 11 U.S.C. § 522(f) and has represented that should the Debtor
 decline to do so, she will pursue the avoidance actions in his stead. Whether the Trustee would be a
 proper party to bring this action is currently not before the Court. Nevertheless, avoidance of the
 judgment liens to deliver clear title to the purchaser adds an additional complication that will need
 to be resolved should the Court approve the Sale Motion.
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 The Discovery Requests fall into three categories: (1) information related to the

 value of the Property, (2) information related to the amount of the liens on the

 Property, and (3) information relevant to the $220,000 purchase contract on the

 Property.-

       Hearings on the Discovery Requests and the Sale Motion have been

 continued pending the Court’s ruling on the Debtor’s standing to oppose the sale. A

 hearing on the Motion for Relief is currently scheduled for October 23, 2024.

       Analysis. Before considering the merits of the Sale Motion, the Court must

 determine whether the Debtor, the sole objecting party, has standing to assert his

 objection. Unless surplus funds exist after fully paying all creditors, a debtor will

 ordinarily receive no distribution from the bankruptcy estate, see 11 U.S.C. § 726(a)

 (providing the order of distribution of property of the estate). In most chapter 7

 cases, there are insufficient assets available to pay creditors in full, leaving a debtor

 with no pecuniary interest in estate proceeds. This appears to be the case here.

 However, in this instance, the Debtor asserts that he is entitled to recover the

 amount of his homestead exemption from the Carveout that the Trustee has

 negotiated with Shellpoint, should the Court approve the sale.

       In support of her Motion to Strike, the Trustee cites the Fourth Circuit case

 of Willemain v. Kivitz, 764 F.2d 1019 (4th Cir. 1985). In Willemain, the Fourth

 Circuit confirmed the rulings of the lower courts that the chapter 7 debtor had no

 standing to object to the trustee’s sale of his interest in a limited partnership whose

 sole asset was one piece of real estate because “an insolvent debtor is not a party in

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 interest and thus lacks standing because he has no pecuniary interest in the

 distribution of his assets among his creditors.” Id. at 1022. 7 The court found that to

 establish standing, a debtor must “demonstrate that an alternative sale of the

 interest would return solvency to his estate.” Id. Further, the court noted that even

 when a debtor can present evidence of fair market value exceeding the proposed

 sale price, “[a] favorable appraisal without a corresponding actual purchaser cannot

 be allowed to stymie a bankruptcy court as it attempts to decide expeditiously

 matters before it.” Id. at 1023, n.7. Willemain continues be followed in the Fourth

 Circuit. See In re Miller, RWT 10cv2466, 2011 WL 3758712, at *4 (D. Md. Aug. 24,

 2011) (to establish standing, debtor must show a direct, pecuniary benefit from a

 proposed trustee’s sale of property); accord Dandridge v. Scott, Civil Action No.

 3:18CV00051, 2019 WL 4228457, at *1 (W.D. Va. Sept. 5, 2019); Hoy v. Atkeson, No.

 3:15-cv-04860-MGL, 2016 WL 3162177, at *4 (D.S.C. June 6, 2016).

        In the Debtor’s case, the evidence most favorable to his position that the

 value of the Property exceeds the proposed sale price does not support a finding that

 the Debtor has a direct, pecuniary interest in the sale of the Property because even

 if the Property were sold for a price equal to the Debtor’s valuation, the sale would

 not return the estate to solvency. With total claims filed in the case being

 $397,822.29, and the Property apparently being the only asset available for

 liquidation, there can be no benefit to the Debtor unless the Debtor’s share of the



 7 Alternatively, the Fourth Circuit held that even if the debtor had standing, his objection was moot

 because the transfer had already been finalized by sale to a good faith purchaser. Willemain v.
 Kivitz, 764 F.2d 1019, 1023 (4th Cir. 1985).
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 bankruptcy estate’s sale proceeds exceeds that amount, at a minimum. The

 Trustee’s sale proposes to limit Shellpoint’s distribution to $183,500, with a

 Carveout that would enable the Trustee to make some partial distributions to

 administrative and unsecured creditors. This would still leave no excess for

 distribution to the Debtor, nor would it return the Debtor to solvency. The Debtor

 has not alleged that an alternative sale for a higher price is available, but even if

 the Property were to be sold for its assessed amount, or for the value asserted by

 the Debtor under penalty of perjury in his schedules, it would not generate a

 surplus for the Debtor.

       In opposition to the Motion to Strike, the Debtor argues that this Court’s

 analysis in the 2004 case of In re Silver, 338 B.R. 277 (Bankr. E.D. Va. 2004)

 supports a finding that he has standing to object to the sale. In Silver, the Court

 recognized its longstanding policy of not allowing a trustee’s sale of assets when the

 proposed sale would benefit only secured creditors. The Debtor argues that that

 policy should apply here as “[e]ven with the carveout, the sale will not pay all liens,

 administrative costs and the payment of any unsecured claims.”

       However, Silver does not stand for the proposition that proceeds of a proposed

 sale must pay all liens, administrative costs, and unsecured claims. Rather, the

 Court in that case focused on this Court’s “standing policy of refusing to allow the

 sale of assets of a chapter 7 bankruptcy estate solely for the benefit of secured

 creditors.” Id. at 281. While the opinion in Silver doesn’t explicitly mention

 standing, the refusal of the Court to prohibit sales of estate property solely for the

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 benefit of secured creditors mirrors the “pecuniary interest” test of Willemain. In

 this case, the Sale Motion proposes a transaction that will pay some, but not all,

 administrative and unsecured creditors’ claims. The Trustee posits that her

 proposed sale terms, in particular Shellpoint’s agreement to compromise its secured

 claim, will result in some payment to unsecured creditors and satisfy Silver’s and

 Willemain’s solvency requirement. 8

        The Debtor further argues that the Fourth Circuit’s ruling in Willemain was

 influenced by the fact that a sale of the subject property to a good faith purchaser

 had already been completed, thus making the appeal moot. However, prior to

 making that ruling, the court specifically found that “Willemain has . . . failed to

 demonstrate that an alternative sale of the interest would return solvency to his

 estate and he, accordingly, lacks standing to bring this appeal.” 764 F.2d at 1023.

 Either basis for its ruling, mootness or standing, would have independently sufficed

 to deny standing to the debtor.

        The total scheduled value of the Debtor’s assets is $249,484, an amount based

 on the Debtor’s own valuations submitted under penalty of perjury. The total

 amount of debts as documented by the allowed proofs of claim filed in this case,

 $397,822.29, greatly exceeds the value of estate assets. Consequently, the

 bankruptcy estate has been and continues to be insolvent. If Shellpoint were

 granted relief from the automatic stay to proceed with a foreclosure sale, based on


 8 As Shellpoint’s claim was $187,935.88 in April 2023, an amount not disputed by the Debtor, even if

 that amount has remained the same, the Carve Out of any amounts over $183,500 would likely
 result in proceeds being available for distribution to unsecured creditors and would certainly benefit
 more than the creditors whose claims are secured by the Property.
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 the evidence currently in the record and absent a carveout to the estate, there

 would likely be no remaining proceeds after distribution to lienholders available to

 the bankruptcy estate or the Debtor. Neither party has submitted evidence to the

 contrary.

       The Trustee, in the exercise of her duties, has negotiated a transaction by

 which unsecured creditors may receive at least some distribution. Generally, the

 Debtor would have no grounds upon which to interfere with the Trustee’s attempt to

 make a partial distribution to unsecured creditors in an insolvent case. That

 approach was outlined in the case of McGuirl v. White, 86 F.3d 1232 (D.D.C. 1996),

 which contains an in-depth discussion of the issue. The court explained:

              Willemain's holding that only solvent debtors have
       standing in the bankruptcy court parallels a similar rule that
       limits standing to appeal bankruptcy court orders to a “person
       aggrieved.” Like the “party in interest” requirement, the “person
       aggrieved” standard derives from a former provision of the
       bankruptcy code. See 11 U.S.C. § 67(c) (1976) (repealed 1978).
       Persons aggrieved are those “whose rights or interests are
       ‘directly and adversely affected pecuniarily’ by the order or decree
       of the bankruptcy court.” In re El San Juan Hotel, 809 F.2d 151,
       154 (1st Cir.1987) (quoting In Re Fondiller, 707 F.2d 441, 442 (9th
       Cir.1983)). Because estates pass on to a trustee in bankruptcy and
       because bankruptcy proceedings absolve debtors of any liability
       to creditors, debtors generally lack standing to appeal orders of
       the bankruptcy court. See San Juan Hotel, 809 F.2d at 154-55.
       Only debtors who will have a surplus in their estate after
       the termination of bankruptcy proceedings have appellate
       standing. See id. at 155 n. 6; see also Depoister v. Mary M.
       Holloway Found., 36 F.3d 582, 585 (7th Cir.1994). Even though
       the current version of the bankruptcy code no longer expressly
       limits appellate review to a “person aggrieved,” see Bankruptcy
       Act, Pub.L. 95-598, tit. I, § 101, 92 Stat. 2549 (1978), courts
       continue to so limit standing to appeal, recognizing that to do
       otherwise might overwhelm bankruptcy courts with claims by the
       many parties indirectly affected by bankruptcy court orders.
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 86 F.3d at 1234-35 (emphasis added). 9

        Applying the analysis above, the Debtor would have no standing to object to

 the sale of the Property, even with the Carveout. However, here the Court must also

 address the question of whether the Debtor is entitled to claim his homestead

 exemption in the Carveout despite the insolvent status of the case and the lack of

 equity in the Property. As previously stated, the Debtor argues that he in fact does

 have a pecuniary interest in the outcome of the sale because he has a homestead

 exemption in the Property. Specifically, the Debtor has an allowed $25,000

 homestead exemption pursuant to Va. Code § 34-4. 10

        Cases interpreting the homestead exemption contained in the Bankruptcy

 Code, 11 U.S.C. § 522(d)(1), have held that for a debtor to claim an exemption in

 real property the debtor uses as a primary residence, there must be equity in the

 property to which the claimed exemption can attach. See In re Messina, 687 F.3d 74,

 82 (3d Cir. 2012) (“There was no equity in the property to exempt at the time

 Appellants filed for bankruptcy, because the combination of the two mortgages was

 greater than the value of the exemption itself.”). Here, given the value of the

 Debtor’s interest in the Property and the amount of the liens on the Property, there


 9 The Debtor also asserts that the analysis set forth by the Trustee does not include the value of the

 real property he owns in the Kingdom of Jordan (the “Jordan Property”). In his schedules, he values
 the Jordan Property at $88,226. The Jordan Property consists of three parcels, one of which is owned
 jointly with his brother. The Debtor’s $88,226 valuation of the Jordan Property is included in the
 total value of assets that the Trustee used to determine whether the Debtor is solvent, and the
 Debtor has presented no evidence to the contrary. Thus, the argument that the Trustee has not
 addressed the disposition of the Jordan Property must fail.

 10 Virginia has opted out of the exemption schedule listed in § 522(d) of the Bankruptcy Code, 11

 U.S.C. § 522(d), and the Virginia homestead exemption is contained in Va. Code Ann. § 34-4.
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 is no equity to which a homestead exemption could have attached at the time the

 case was filed.

       Courts are divided, however, on whether a debtor is entitled to assert his

 homestead exemption in a Trustee-negotiated carveout from a secured creditor’s

 lien. A 2020 article in the Bankruptcy Law Letter addressed the conundrum of

 carveout vs. exemption in depth and summarized efforts of the courts to resolve it.

 See Ralph Brubaker, Short Sales, Mortgagee Give-up, and the Debtor’s Homestead

 Exemption: Taking Bankruptcy’s Priority Rules Seriously, 40 No. 11 Bankr. L.

 Letter NL 1 (2020). Professor Brubaker’s lengthy scholarly article addresses the

 concerns surrounding the issue, especially in light of the 2020 decision of In

 re Stark, 2020 WL 5778400 (Bankr. E.D.N.Y. 2020), and its subsequent reversal by

 the district court in Stark v. Pryor (In re Stark), 20-CV-4766(EK), 2022 WL 2316176

 (E.D.N.Y. 2022).

       In Stark, the chapter 7 trustee sought court approval to sell the debtor’s

 primary residence. The residence was fully encumbered, with no equity remaining

 for distribution to unsecured creditors. The facts in Stark are almost identical to

 those in this case. The mortgagee had agreed to accept a payment that was lower

 than the amount of its secured claim, thus giving the Trustee some funds to pay

 administrative expenses and to make a distribution to unsecured creditors. The

 trustee asserted that he had statutory authority to enter into such an agreement

 and that the sale proceeds were not subject to the Debtor's homestead exemption.

 The amount of the carveout was undetermined at the time of the motion because

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 the Trustee had been unable to gain access to the residence to get a current

 valuation. The Debtor argued that before any distribution of any sale proceeds to

 unsecured creditors, her claimed exemption must be paid.

        Accepting the trustee’s argument, the bankruptcy court ruled that new funds

 made available from the carveout arose “not from any equity in the Property but

 from an agreement essentially monetizing the Trustee's power under the Code to

 dispose of the Property utilizing the section 363 process.” 2020 WL 5778400, at *7.

 The court concluded that the carved-out funds were not properly characterized as

 proceeds of the sale of real property, but rather were “attributable to the rights and

 powers of the trustee granted to him under the Code and exercised by him for the

 benefit of the estate. Thus, the Debtor [could not] lay claim to those funds on

 account of the homestead exemption.” Id. at *5.

        On appeal, the district court reversed the bankruptcy court’s decision. In

 doing so, it relied upon its interpretation of the New York exemption statute’s

 requirement of “value” in the property. 11 The court stated that:

        [T]he correct answer, in my view, is that in exchange for the carve-out,
        the Trustee is delivering the sale of the Property outside a foreclosure
        proceeding. Said differently, the Trustee is trading away, in exchange
        for the carve-out, Stark's right to remain in the Property for an extended
        period without making mortgage payments; her right to exclude others
        during that period; and the like.
            Having described the “value” at issue as such, it is clear that the
        value resides in the homeowner's “property” rights in the house, and is
        thus protected by the homestead exemption. . . . At the end of the day,
        the Trustee is monetizing part of the value of “a lot of land with a

 11 New York, having opted out of the Bankruptcy Code’s exemptions, as has Virginia, gives a debtor

 an exemption of “up to $170,825 in value above liens and encumbrances.” N.Y. C.P.L.R. § 5206(a);
 N.Y. Debt. & Cred. Law § 282.

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         dwelling thereon” that is “owned and occupied as a principal residence.”
         And that value is exempted by the New York homestead exemption
         statute.”

 Id. at **5-6. 12

         The district court also addressed an argument often used in decisions

 approving a trustee’s sale of property. That argument posits that the debtor had no

 exemption in property subject to a carveout because there was no equity in the

 property at the time the petition was filed. The district court rejected that

 argument, finding that “the secured creditor's agreement to accept less money upon

 a sale creates equity in the home where none existed before.” Id. at *6.

         Other courts holding that a trustee may effectuate a carveout agreement that

 pays unsecured creditors without first honoring the debtor’s homestead exemption

 have articulated additional reasons for their decisions. In Jubber v. Bird (In re

 Bird), 577 B.R. 365 (B.A.P. 10th Cir. 2017), the court noted that such agreements

 circumvent the statutory distribution scheme of the Bankruptcy Code .

         We . . . agree with Appellants' position that the Supreme Court's recent
         decision in Czyzewski v. Jevic Holding Corp., ––– U.S. ––––, 137 S.Ct.


 12 The Bankruptcy Code’s homestead exemption also relies on the value of the debtor in property:

         (d) The following property may be exempted under subsection (b)(2) of this section:
         (1) The debtor's aggregate interest, not to exceed $27,900 [originally “$15,000”,
         adjusted effective April 1, 2022]1 in value, in real property or personal property that
         the debtor or a dependent of the debtor uses as a residence, in a cooperative that owns
         property that the debtor or a dependent of the debtor uses as a residence, or in a burial
         plot for the debtor or a dependent of the debtor.
 11 U.S.C. § 522(d)(1). In addition, the homestead exemption created by Va. Code § 34-4 relies
 on the value of the debtor in property:
         Every householder shall be entitled, in addition to the property or estate exempt
         under §§ 23.1-707, 34-26, 34-27, 34-29, and 64.2-311, to hold exempt from creditor
         process arising out of a debt, real and personal property, or either, to be selected by
         the householder, including money and debts due the householder not exceeding
         $5,000 in value . . . .
 Va. Code § 34-4.
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         973, 197 L.Ed.2d 398 (2017), which reversed a bankruptcy court's
         approval of a structured dismissal in a Chapter 11 case, does not
         prohibit all carve out agreements. But Appellants miss the larger point
         applicable here: Jevic stands for the proposition that neither the parties,
         nor the courts, are free to circumvent the Bankruptcy Code's rules and
         policies regarding priorities and distributions through manipulation of
         substantive and procedural protections. Jevic, 137 S.Ct. at 986–87.

 577 B.R. 379, n.64. See also Summerlin v. Turnage, 648 B.R. 793 (W.D.N.C. 2023);

 Brubaker, text accompanying nn.112, 113.13

         The court in Bird further supported its decision by referring to the Supreme

 Court's ruling in Law v. Siegel, 571 U.S. 415 (2014), that exemptions can be denied

 only on the statutory bases set forth in the Bankruptcy Code. This “underscores the

 sacrosanct nature of homestead exemptions.” 577 B.R. at 386. In Siegel, the




 13 “What makes modern 'gifting’ practices objectionable and illegitimate, therefore, . . . is they

 are not restricted in their operation to creditors simply paying (or agreeing to pay) to some other
 claimant or class of claimants the distributions those “gifting” creditors have already received from
 the debtor’s bankruptcy estate, after those distributions are made in accordance with the Code’s
 distribution priorities (and at which point those funds are no longer property of the estate). Rather,
 the agreement requires (because the foregoing will not do the trick for one reason or another)
 a bankruptcy court order that authorizes a direct distribution of estate property that implements the
 so-called distribution sharing agreement, which distribution does not comply with the Code’s priority
 rules for distribution of estate property.

 The short-sale give-up agreements between undersecured creditors and Chapter 7 trustees that cut
 out any exemption claim by the debtor are fundamentally objectionable and illegitimate for precisely
 the same reason. Restricting the operation of those agreements to the secured creditor simply
 agreeing to pay the trustee an agreed amount after distribution of all 363 sales proceeds to the
 secured creditor, in accordance with the Code’s distribution priorities, is a nonstarter: The
 bankruptcy court cannot and will not approve a 363 sale that will only produce a distribution to an
 undersecured creditor and, therefore, will order abandonment. Moreover, the trustee has no
 authority to seek, receive, or administer such a payment of non-estate property to the trustee.
 Consequently, the short-sale give-up agreement must require the bankruptcy court to enter an order
 authorizing a direct distribution of the 363 sale proceeds by the trustee in accordance with the terms
 of the give-up agreement. But that distribution contravenes the Code’s prescribed distribution
 priorities for the proceeds of an asset in which the debtor has an exempt interest, which give the
 debtor’s exemption claim priority over the claims of unsecured creditors.” Brubaker, text
 accompanying nn.112, 113.


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 Supreme Court ruled that § 522(k)’s prohibition that “[p]roperty that the debtor

 exempts under this section is not liable for payment of any administrative

 expenses” protects exempt property from being liable for payment of ordinary

 administrative expenses, and even a debtor's fraud does not constitute cause to

 deny his homestead exemption to pay administrative expenses incurred by the

 trustee because of that fraud. 571 U.S. at 422. In Bird, the Tenth Circuit

 Bankruptcy Appellate Panel applied Law v. Siegel when holding that the “Trustee's

 scheme to sell the Homesteads by negotiating Carve–Outs . . . is nothing more than

 an attempt to do indirectly what the Bankruptcy Code and Utah exemption statutes

 prevent him from doing directly.” 577 B.R. at 386.

       In this post-Siegel and Jevic landscape, the Court must side with those courts

 that prioritize a debtor’s homestead exemptions, whether as prescribed in the

 Bankruptcy Code or in the statutes of those states that have opted out of the

 Bankruptcy Code’s exemptions. A trustee’s carveout agreement with a secured

 creditor should not subvert those exemptions, which were enacted to aid debtors in

 their fresh start after bankruptcy. See Turnage, 648 B.R. at 799. There is nothing in

 the Bankruptcy Code that supports denying a debtor’s exemption in his homestead

 when a carveout agreement with a secured creditor is the source of unencumbered

 funds that are available to apply to the exemption.

       Having found that the Debtor has a pecuniary interest, by virtue of an

 exemption that he may legitimately assert, in the funds that would result from the

 consummation of the sale and the Carveout, it stands to reason that he has

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 standing to advance his objection to the Sale Motion. 14 Therefore, the Court finds

 that the Debtor has standing to object to the Sale Motion and will deny the Motion

 to Strike the Debtor’s response. For the same reasons, the Court will deny the

 Trustee’s “Motion to Strike the Interrogatories and Requests for Production of

 Documents,” as it is based solely on the Debtor’s alleged lack of standing.

        The Sale Motion remains before the Court. An evidentiary hearing on that

 motion will be heard contemporaneously with Shellpoint’s hearing on its Motion for

 Relief scheduled for October 23, 2024. At that hearing, the Court will expect the

 Trustee to present evidence that the sale will result in a “meaningful distribution to

 creditors.” See USDOJ Handbook for Chapter 7 Trustees, at 4-14 (“the Trustee may

 seek a ‘carve-out’ from a secured creditor and sell the property at issue if the ‘carve-

 out’ will result in a meaningful distribution to creditors.”). The current insufficiency

 of evidence regarding the anticipated recovery for benefit of creditors in this case

 prevents the Court from making such a determination. 15

        Therefore, in accordance with the opinion set forth above,

        IT IS ORDERED that the October 9, 2024, evidentiary hearing originally

 scheduled for the Sale Motion will be held on October 23, 2024; and it is further


 14 The court in McGuirl concurred with the position taken by many courts that “[o]nly debtors who

 will have a surplus in their estate after the termination of bankruptcy proceedings have . . .
 standing.” 86 F.3d at 1234. Nonetheless, the court held that in that case that the debtors, who were
 not entitled to a discharge, had standing to object to the trustee’s $20,000 fee, reasoning that an
 “excessive award will reduce funds otherwise available to pay creditors to whom the [debtors] will
 remain directly liable.” 86 F.3d at 1236. As this would adversely impact the debtors’ post-discharge
 liability on their nondischargeable debts, the court found that they had standing despite the
 insolvent nature of the estate. Applying this analysis, the discharge waiver made by the Debtor in
 this case also provides him standing to oppose the sale.
 15 For example, the Court has no evidence as to potential administrative costs in the case nor the

 current payoff to Shellpoint.
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       ORDERED that the Motion to Strike the Debtor’s objection to the Sale

 Motion is DENIED; and it is further

       ORDERED that the Motion to Strike the Discovery Requests is DENIED.

 Signed: October 11 , 2024

                                             /s/ Keith L. Phillips
                                       United States Bankruptcy Judge

 Copies to:                            ENTERED ON DOCKET: Oct. 11, 2024

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